              Case 4:24-cv-00240-RSB-CLR Document 10 Filed 11/13/24 Page 1 of 1
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT of GEORGIA
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                                        NOTICE of FILING DEFICIENCY

               7R Matthew B. Stoddard                                       'DWH 11/13/2024
              &DVH 4:24-CV-240                                             3DUW\J. S.

                #9 Corporate Disclosure Statement (LR 7.1.1)
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                2WKHU
                   The incorrect form was used for filing the Corporate Disclosure Statement (LR 7.1.1).
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                   Court forms can be found at gasd.uscourts.gov.




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                                                         Tara H. Burton (706) 849-4407
                 )RU PRUHLQIRUPDWLRQ3OHDVHFRQWDFWBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                               Deputy Clerk
